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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                         §           CHAPTER 11
                                                §
 NATIONAL RIFLE ASSOCIATION                     §           Case No. 21-30085-hdh-11
 OF AMERICA and SEA GIRT LLC,                   §
                                                §
        DEBTORS.                                §           JOINTLY ADMINISTERED

      ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS THE CHAPTER 11
     BANKRUPTCY PETITION, OR, IN THE ALTERNATIVE, MOTION FOR THE
      APPOINTMENT OF A CHAPTER 11 TRUSTEE, AND BRIEF IN SUPPORT

        COMES NOW Ackerman McQueen, Inc., the largest unsecured creditor in the above-

 captioned case (“AMc” or “Creditor”), and hereby files its Motion to Dismiss the Chapter 11

 Bankruptcy Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee,

 and Brief in Support (the “Motion”), pursuant to Sections 102, 1112, 1104 of the Bankruptcy

 Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), based upon bad faith, cause, and

 bankruptcy fraud.
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                                              I.       SUMMARY

         1.       The U.S. Supreme Court and virtually every Federal Circuit, including the Fifth

 Circuit, have held that companies that forthrightly claim they are solvent cannot manipulate the

 Bankruptcy Code for an illicit purpose, but rather must file a petition in good faith with a legitimate

 goal of reorganizing. This preliminary requirement is necessary to protect the integrity and equity

 of the bankruptcy courts. In this case, the National Rifle Association of America (“NRA”) did not

 file this bankruptcy for a legitimate goal of reorganization.

         2.       Simultaneously with its bankruptcy filing, the NRA released a host of carefully

 crafted, politically motivated messages, presumably to assuage any concerns from its membership,

 representing that it is as financially healthy as ever. By its own admission, the NRA filed this

 bankruptcy solely to escape the civil prosecution of claims by the New York Attorney General

 (“NYAG”) that the NRA’s management team, starting with Executive Vice President, Wayne

 LaPierre (“LaPierre), among other things, engaged in rampant self-dealing, breached their

 fiduciary duties, filed fraudulent tax returns with the state and federal government, had virtually

 no internal controls and if the controls interfered with the enrichment of executives, ignored best

 practices, actively obtained and improperly misspent trusted funds, and committed fraud on the

 public.1

         3.       As part of this plan, the NRA formed a sham entity in Texas less than two months

 before filing for bankruptcy to manufacture venue, and is asking this Court to assist with its



 1
  See People of the State of New York v. NRA, et al., Index No. 451625/2020, State of New York, County of New
 York, [https://ag.ny.gov/sites/default/files/summons_and_complaint_1.pdf] (the “Enforcement Action”); District of
 Columbia v. NRA Foundation and the NRA, Civil Action No., in the Superior Court for the District of Columbia, Civil
 Division, [https://oag.dc.gov/sites/default/files/2020-08/NRA-Foundation-Complaint-Redacted.pdf]. Pursuant to
 Federal Rule of Evidence 201, AMc requests that the Court take judicial notice of all filings and proceedings in the
 Enforcement Action.

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 reincorporation in Texas. However, this bankruptcy cannot achieve the NRA’s illicit goal of

 dissolving in New York and reincorporating in Texas, as the NRA lacks the requisite approval

 from the NYAG or NY Supreme Court to dissolve, merge into, or consolidate with a foreign

 nonprofit incorporated in another state.

          4.       The NRA further contends that it needs the protections of the bankruptcy court to

 consolidate litigation. However, the NRA’s self-imposed, wasteful, and destructive litigation

 largely stems from claims intentionally initiated by the NRA to deflect the spotlight off its own

 malfeasance. This Rambo-style “litigation strategy” has done nothing more than enrich the NRA’s

 counsel and public relations firm (the Brewer Firm)2 (millions in legal fees per month since 2018)3

 and forced the NRA into its latest round of litigation roulette with this bankruptcy. Unfortunately

 for the NRA, the law does not allow the NRA to reap the equitable protections of the bankruptcy

 courts to escape the litigation web it has spun.

          5.       The NRA’s acts and omissions mandate the dismissal of this bankruptcy on the

 grounds that the filing was made in bad faith. It should also be dismissed for cause pursuant to

 section 1112 of the Bankruptcy Code because it exposes the NRA to bankruptcy fraud under 18

 U.S.C. § 157, which proscribes a scheme or artifice to defraud innocent parties with the use of the

 bankruptcy system.



 2
   Brewer Attorneys & Counselors (the “Brewer Firm”).
 3
   See, e.g., Will Van Sant, Ex-NRA Execs Fear Attorney is Shielding LaPierre at the Group’s Expense, TRACE (Nov.
 24, 2020), https://www.thetrace.org/2020/11/nra-gun-lawsuits-bill-brewer-lapierre-attorney-legal-costs/ (“Since his
 hiring, Brewer has been the prime architect of at least 10 lawsuits that the NRA has filed, while also handling defense
 work and arbitration proceedings that followed the expulsion of top personnel who’d clashed with LaPierre. To date,
 Brewer has prevailed in only one of those 10 suits, a skirmish over legal bills. He’s lost two cases, settled one, and the
 remainder are pending…the firm has collected upward of $50 million to date — a conservative estimate given how
 the firm’s NRA workload has grown”). See also Stephen Gutowski, Twitter (May 11, 2019),
 https://twitter.com/StephenGutowski/status/1127299783813677056 (posting Lt. Col. Oliver North’s letter to the NRA
 Board requesting independent review of the Brewer Firm’s fees, which at the time were more than $19 million for
 roughly one year of representation).

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          6.       In the event the Court is not ready to dismiss this bankruptcy, AMc requests the

 Court appoint an independent chapter 11 trustee. The bankruptcy estate is held in trust for the

 benefit of creditors, and the debtor-in-possession holds fiduciary duties towards the creditors. It

 is impossible for the current NRA officers and its private counsel to competently or truthfully serve

 as a fiduciary to AMc (or its other litigation opponents) in light of the allegations of

 mismanagement against the NRA and its executives in the NYAG Enforcement Action, and in

 light of the wasteful and destructive litigation path the NRA has taken. Thus, if dismissal is not

 appropriate at this time, AMc respectfully requests the Court appoint such a trustee.

                                   II.          JURISDICTION AND VENUE

          7.       This Court has jurisdiction over the Bankruptcy Case and Motion pursuant to 28

 U.S.C. §§ 157 and 1334. Debtors assert that venue is proper in this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409. However, as set forth below, AMc disputes whether this Bankruptcy Case is

 appropriate. This Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          8.       The legal predicates for the relief sought herein are Sections 105, 1104 and 1112 of

 the Bankruptcy Code and Rules 1017, 2002, 9013, and 9014 of the Federal Rules of Bankruptcy

 Procedure.

                                         III.     BACKGROUND FACTS

     A. The NRA’s Stated Purpose for Filing Bankruptcy.

          9.       On January 15, 2021 (the “Petition Date”), the NRA and its shell subsidiary, Sea

 Girt, LLC (“Sea Girt”), filed two voluntary petitions for relief under Title 11 of the Bankruptcy

 Code.4


 4
   The separate petition filed by Sea Girt is herein referred to as “Sea Girt Bankr.” Citations to the NRA’s petition are
 referred to as “NRA Bankr.”

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         10.      Simultaneously with the bankruptcy filings, the NRA’s Chief Executive Officer,

 Executive Vice President, and long-term leader and spokesman, LaPierre, issued a statement to

 the NRA’s five million members explaining that the NRA’s purpose for the bankruptcy had

 nothing to do with the NRA’s financial constraints:

         Today, the NRA announced a restructuring plan that positions us for the long-
         term and ensures out continued success as the nation’s leading advocate for
         constitutional freedom – free from the toxic political environment of New York.

         The plan can be summed up quite simply: We are DUMPING New York, and
         we are pursuing plans to reincorporate the NRA in Texas.

         …

         You know that our opponents will try to seize upon this news and distort the truth.
         Don’t believe what you read from our enemies. The NRA is not ‘bankrupt’ or
         ‘going out of business.’ The NRA is not insolvent. We are as financially strong
         as we have been in years.

         But they know today’s announcement makes us bigger, stronger and more prepared
         for the fight for freedom.

         We are leaving the state of an attorney general who, just a few months ago,
         vowed to put us out of business through an abuse of legal and regulatory power.

         …

         Under this plan, we seek protection from New York officials who illegally
         abused and weaponized the powers they wield against the NRA and its members.

         …

         This plan actually improves our business. It protects us from costly, distracting
         and unprincipled attacks from anti-2A politicians aimed at attacking the NRA
         because we are a potent political force.5



 5
   See Letter from Wayne, WWW.NRAFORWARD.ORG (Jan. 15, 2021), https://www.nra forward.org/waynesletter (letter
 to NRA’s five million members explaining the bankruptcy intent); see also Danny Hakim & Mary Williams Walsh,
 The N.R.A. Wants to ‘Dump’ Its Regulators via Bankruptcy. Will It Succeed?, NEW YORK TIMES (Jan. 22, 2021),
 https://www.nytimes.com/2021/01/21/business/nra-bankruptcy-new-york.html. On January 15, 2021, the same day
 the NRA filed the Bankruptcy Case, one of its board members (Bob Barr, former Republican congressman from
 Georgia) clarified in a TV interview that the filing “has nothing to do with the N.R.A.s financial posture, which is

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         11.      Other high-ranking NRA officials confirmed the NRA’s justification for its

 bankruptcy. The NRA’s First Vice President, lawyer Charles Cotton, shared similar unequivocal

 sentiments that the NRA’s bankruptcy is for litigation strategy:

         In an interview, NRA board member Charles Cotton made clear that the bankruptcy
         filing was motivated by litigation and regulatory scrutiny in what he called ‘corrupt
         New York’ – not financial concerns.

         ‘We’ve got to get in a state where we can operate without that kind of undue
         weaponizing of governmental agencies, and frankly to get all the litigation in a
         place where we’ve got an even shake,’ Cotton told the Associated Press.6

         12.      In a Question and Answer format published to its members through its website, the

 NRA further explained its improper purpose for the bankruptcy:

               By filing for chapter 11, is the NRA admitting it mismanaged donor funds?

               Not at all…This action is necessitated primarily by one thing: the unhinged
               and political attack against the NRA by the New York Attorney General.7

         13.      Importantly, the NRA’s proposed special counsel, the Brewer Firm, who has been

 at the forefront of the NRA’s messaging since its arrival in 2018, employs an entire public relations

 department to its law firm, and its patriarch, William A. Brewer III (“Brewer”), has repeatedly

 made clear how the Brewer Firm is just as much a public relations firm as it is a law firm.8 At the

 first day hearings, the Brewer Firm attempted to walk back some of the public statements made by




 very, very strong. It simply is a legal vehicle to move under protection of federal laws, to escape the abuse by the
 New York authorities.” See id.
 6
   See Paul J. Weber & Michael R. Sisak, NRA Declares Bankruptcy, Plans to Incorporate in Texas, ASSOCIATED
 PRESS (Jan. 15, 2021), https://apnews.com/article/new-york-gun-politics-coronavirus-pandemic-texas-cbe5845c17e
 18eed8679d6daec75ff75.
 7
   See Questions & Answer, www.nraforward.org, https://www.nraforward.org/questionsanswers, last accessed Feb. 1,
 2021 (emphasis added).
 8
   See Public Affairs, WWW.BREWERATTORNEYS.COM, https://www.brewerattorneys.com/the-art-of-advocacy, last
 accessed Feb. 1, 2021 (the firm “position[s] [its] clients to prevail both within and outside the courtroom” and
 “pioneered … an Issues & Crisis Management group”).

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 LaPierre and other executives relating to the NRA’s admitted non-financial purpose for filing for

 bankruptcy:

         I only want to briefly address some of the media – some of the press statements Mr.
         Sheehan cites, that the NRA is dumping New York. We want to be clear that those
         statements, as casual though they were, don’t amount to an expressed intent to elude
         or obstruct the particular litigation in which the oral arguments are scheduled
         tomorrow.9

 Yet, the Brewer Firm failed to disclose to the Court that it was the one that actually drafted the

 public statements, or, at the very least, was intimately involved in their preparation and

 dissemination to the media.10

      B. The NRA’s Choice to File a Series of Litigations Actively Endangers the Solvency of
         the NRA.

         14.      Since 2018, when the NRA and LaPierre hired the Brewer Firm, the NRA has

 embarked on a scorched-earth litigation strategy designed to identify various scapegoats for its

 decades-long fraud and mismanagement and to keep Brewer’s promise to LaPierre that he was

 going to keep him out of jail.11




 9
   First Day Motions Hr’g Tr. at 18:25-19:6 (Jan. 20, 2021).
 10
    See, i.e., NRA Forward, www.nraforward.org, https://www.nraforward.org/press-release, last accessed Feb. 5,
 2021; NRA Legal Facts, www.nralegalfacts.org, https://www.nralegalfacts.org/copy-of-about-the-nra-s-case, last
 accessed Feb. 5, 2021.
 11
    See NRA v. AMc, et al., Civil Action No. 3:19-cv-02074 (N.D. Tex.) (the “Texas Action”), ECF 141 at Ex. B, ¶ 17
 (“Mr. LaPierre stated numerous times that Mr. Brewer was the only person that was going to keep him out of jail.”),
 ¶ 14 (“Mr. LaPierre explained that Mr. Brewer was going to be gone in 30-60 days anyway because he was going to
 have everything resolved with the New York Attorney General. During the meeting, Mr. LaPierre repeatedly said that
 Mr. Brewer was the only person that could save the NRA from the New York Attorney General, that Mr. Brewer had
 some key relationships in the State of New York, and that Mr. Brewer “knew how to fix this.” When I asked Mr.
 LaPierre what he meant by Mr. Brewer’s knowing “how to fix this,” Mr. LaPierre responded that “he just is,” and
 reaffirmed that Mr. Brewer was going to leave AMc alone.”); Ex. C, ¶ 10 (“During another meeting in January 2019
 attended by Mr. LaPierre, Angus, Revan, Melanie, and Nader, Mr. LaPierre stated on numerous occasions that Mr.
 Brewer was the only person that was going to keep him out of jail. In response to that, Angus, Melanie, and I asked
 Mr. LaPierre why he should be concerned about going to jail. Mr. LaPierre stated on three separate occasions to me
 and everyone in the room that, “you don’t know what you don’t know.”).

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         15.      The NRA has instituted a bevy of litigation against numerous parties, including

 four lawsuits against AMc filed over a six-month period, all of which still await resolution.12 In

 less than three years, the NRA has instigated dozens of lawsuits, including actions against

 Governor Cuomo of New York (two separate lawsuits); New York Attorney General Letitia James

 (two separate lawsuits); the City of Los Angeles, California; the City of San Francisco, California;

 the County of Santa Clara, California; the Governor of New Mexico; the Governor of California;

 Fairfax County, Virginia; Lt. Col. Oliver North, the NRA’s former President; and Chris Cox

 (“Cox”) (arbitration against the NRA’s former chief lobbyist) (collectively, the “Lawsuits”).13 Not

 surprisingly, the NRA is represented by the Brewer Firm in virtually all of these cases.14

         16.      Now, the NRA wants to use this self-created quagmire of litigation, primarily

 created by the Brewer Firm, as justification for filing bankruptcy. This case is preceded by another

 legal “Hail Mary,” since the NRA is already inappropriately trying to delay the progress of these

 cases by purportedly seeing to consolidate its lawsuits in Federal multi-district litigation.

         17.      On October 20, 2020, the NRA filed a Motion to Transfer Cases for Coordinated

 or Consolidated Pre-Trial Proceedings pursuant to 28 U.S.C. § 1407 in the matter styled In re:

 National Rifle Association Business Expenditures Litigation, MDL Docket No. 145 (the

 “MDL”).15 The NRA moved to consolidate four lawsuits that were unrelated. All other parties in

 those four lawsuits opposed consolidation, including AMc, for similar reasons as they oppose this

 Bankruptcy Case—because the NRA is merely attempting to delay the litigation it brought upon



 12
    NRA v. AMc, et al., Circuit Court of Virginia, Cause CL19001757; NRA v. AMc, et al., Circuit Court of Virginia,
 Cause CL19002067; NRA v. AMc, et al., Circuit Court of Virginia, Cause 19002886 (collectively, the “Virginia
 Action”); the Texas Action.
 13
    See ECF 63 (Christopher Cox’s Motion to Modify the Automatic Stay).
 14
    See ECF 84 at Ex. B, Schedule 1 (NRA’s Application to Employ the Brewer Firm).
 15
    See MDL, ECF 1.

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 itself. Specifically, the NRA has argued that the NYAG’s state Enforcement Action was the

 primary basis to consolidate the federal cases into the Northern District of Texas.16 According to

 the NRA, after learning the MDL consolidation was opposed, it filed this Bankruptcy Case and

 explained that the primary basis was to consolidate to the NYAG Enforcement Action.17 On

 February 4, 2021, the United States Judicial Panel on Multidistrict Litigation denied the NRA’s

 motion to consolidate.18

      C. The NRA’s Gross Mismanagement, Breach of Fiduciary Duties, Fraud and
         Misspending Has Spiraled Out of Control.

         18.      On August 6, 2020, the NYAG filed its 169-page Complaint in the Enforcement

 Action against the NRA, LaPierre, and other current and former high-ranking NRA executives for

 breach of fiduciary duty, gross mismanagement, wrongful related-party transactions,

 whistleblower violations, false reporting, self-dealing, unjust enrichment, and other claims.

 According to the NYAG’s Complaint:

         For nearly three decades … Wayne LaPierre … has exploited the organization for
         his financial benefit, and the benefit of a close circle of NRA staff, board members,
         and vendors. Contrary to his statutory duties of care, loyalty and obedience to the
         mission of the charity, LaPierre has undertaken a series of actions to consolidate
         his position; to exploit that position for his personal benefit and that of his family;
         to continue, by use of a “secret poison pill contract,” his employment even after
         removal and ensuring NRA income for life; and to intimidate, punish, and expel
         anyone at a senior level who raised concerns about his conduct. The effect has been
         to divert millions of dollars away from the charitable mission…19

 Those millions of dollars included expenses for LaPierre’s personal benefit that “violated NRA

 policy, including private jet travel for purely personal reasons; trips to the Bahamas to vacation on




 16
    Id.
 17
    Compare MDL, ECF 1 at 2-5, 8 with NRA Bankr., ECF 28 ¶¶ 1-2, 16.
 18
    MDL, ECF 45.
 19
    See Enforcement Action Compl. at 1 ¶ 2 [https://ag.ny.gov/sites/default/files/summons_and_complaint_1.pdf].

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 a yacht owned by the principal of numerous NRA vendors…[and] lucrative consulting contracts

 for ex-employees and board members…”20

          19.       When employees, board members and their NRA-authorized counsel, and even the

 former NRA President questioned LaPierre’s actions (or Brewer’s involvement in, and direction

 of, those actions), the questions “were quashed or ignored.”21 Even worse, “LaPierre retaliated

 against” them, despite formal whistleblower complaints.22

          20.       But LaPierre did not do it alone. Joshua Powell (“Powell”), LaPierre’s former

 right-hand man and Chief of Staff, along with the Brewer Firm were “in charge of the NRA’s

 compliance efforts.”23 Powell soon became the “Senior Strategist”—a newly created position—

 to coordinate with the Brewer Firm “in its campaign against the State of New York,”24 i.e., the

 Enforcement Action.

          21.       In turn, LaPierre did not seek bids from other lawyers or law firms to serve in the

 NRA’s purported compliance efforts, “did not identify any metrics or analytics that he applied in

 making the decision to retain the Brewer Firm,” and “did not review the financial terms of the

 Brewer engagement and did not ‘get into’ any consideration of project-based pricing as opposed

 to hourly-based pricing.” 25 LaPierre left these issues to the General Counsel’s discretion. 26

 Unfortunately, General Counsel John Frazer (“Frazer”) had “less than two years of experience in

 private practice, and little experience engaging or negotiating with outside counsel for large-scale




 20
    Id. at 35 ¶ 140.
 21
    Id. at 4 ¶ 10.
 22
    Id. at 4 ¶ 10.
 23
    Id. at 58 ¶ 239.
 24
    Id. at 58 ¶ 240.
 25
    Id. at 109 ¶ 456.
 26
    Id. at 109 ¶ 456.

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 litigation and internal investigation work.” 27 Frazer approved the Brewer Firm’s estimated

 monthly fees of $1.25 million.28 Upon information and belief, the Brewer Firm has charged the

 NRA at least $60 million since 2018.29

         22.     That was just the start. The NYAG has alleged LaPierre and other NRA officers

 directly and routinely abused their authority by improperly being reimbursed for personal

 expenses, including private jet travel and trips to the Bahamas, 30 disregarded NRA policies,31

 engaged in self-dealing transactions, 32 allowed excess and unauthorized compensation to

 themselves,33 misreported to the IRS,34 hired disqualified officers,35 engaged in bribes,36 permitted

 lack of oversight by the audit committee, 37 hired criminals to work in the executive office, 38

 negligently allowing the NRA to enter into multi-million dollar oral contracts,39 and entered into

 multi-million dollar consulting agreements with terminated officers.40

         23.     The NYAG Complaint indicates the degree to which other insiders were complicit

 in failing to comply with audit committee requirements,41 lack of sufficient oversight by the audit

 committee, 42 providing materially false and misleading statements to the NYAG, 43 failing to


 27
    Id. at 109 ¶ 457.
 28
    Id. at 109 ¶ 457.
 29
     See Stephen Gutowski, Twitter (May 11, 2019), https://twitter.com/StephenGutowski/status/11272997838
 13677056 (posting Lt. Col. Oliver North’s letter to the NRA Board requesting independent review of the Brewer
 Firm’s fees, which at the time were more than $19 million for roughly one year of representation).
 30
    See Enforcement Action Compl. at ¶¶ 140, 150-175, 190.
 31
    Id. at ¶ 239.
 32
    Id. at ¶¶ 141, 221, 259-63, 266, 365, 430.
 33
    Id. at ¶¶ 142, 243-46, 421.
 34
    Id. at ¶¶ 434, 436, 439-43.
 35
    Id. at ¶ 457.
 36
    Id. at ¶¶ 228-30, 400-01.
 37
    Id. at ¶ 233.
 38
    Id. at ¶ 283.
 39
    Id. at ¶¶ 252-58.
 40
    Id. at ¶¶ 339-43, 346-53.
 41
    Id. at ¶¶ 278-79.
 42
    Id. at ¶¶ 476-80.
 43
    Id. at ¶¶ 281, 547-48.

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 respond to whistleblower complaints, 44 failing to review related party transactions, 45 audit

 committee failure to oversee external auditors, 46 failing to comply with officer and director

 compliance programs,47 and improper management of institutional funds under New York law.48

         24.     If the NRA President or board members raised concerns about the engagement,

 fees, and activities of the Brewer Firm (which exceeded $1.5 million monthly), they were quickly

 pushed out of the organization.49

         25.     As part of the Enforcement Action, the NYAG seeks to dissolve the NRA based

 upon its “pattern of conducting its business in a persistently fraudulent or illegal manner, abusing

 its powers contrary to public policy of New York and its tax exempt status, and failing to provide

 for the proper administration of its trust assets and institutional funds…”50 The NYAG also seeks

 restitution from LaPierre and the other individual defendants, to remove LaPierre as director and

 EVP, and to enjoin the individual defendants from service in any fiduciary capacity for any

 charitable or nonprofit organization in New York, among other relief.51

      D. The Timing of the Litigation Belies the NRA’s Fraudulent Intent.

         26.     In a calculated effort to avoid the NYAG Enforcement Action and manufacture

 venue, the NRA started planning to incorporate this bankruptcy into its litigation strategy. On

 November 24, 2020, the NRA formed Sea Girt as a Texas limited liability company,52 apparently



 44
    Id. at ¶¶ 484-90.
 45
    Id. at ¶¶ 498-508.
 46
    Id. at ¶¶ 518-31.
 47
    Id. at ¶¶ 534-43.
 48
    Id. at ¶¶ 549-59.
 49
    Id. at ¶¶ 452-474. See also Will Van Sant & Daniel Nass, The NRA Exodus: Who Left the Organization During a
 Year of Upheaval, THE TRACE (Mar. 2, 2020), https://www.thetrace.org/2020/03/nra-departures-timeline-wayne-
 lapierre/.
 50
    See Enforcement Action Compl. at 5 ¶ 12.
 51
    Id. at 5-6 ¶ 13.
 52
    See NRA Bankr. ECF No. 63-1, Ex., E, Certificate of Formation at 1.

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 to manufacture bankruptcy jurisdiction before a Texas Court. Based on the NRA’s bankruptcy

 petition, the NRA owns 100% of the interests in Sea Girt and is its sole manager.53 Sea Girt’s only

 “creditors” are the NRA and the NRA’s Deputy Chief of Staff,54 and upon information and belief,

 Sea Girt has absolutely no operations, employees, or independent officers. Sea Girt further admits

 that it does not even have any noninsider creditors.

         27.     On or about January 7, 2021, the NRA Board supposedly passed a resolution that

 the NRA delegated to LaPierre “the power … to reorganize or restructure the affairs of the

 Association.”55 The Board also formed a “Special Litigation Committee” specifically to handle

 the Enforcement Action. 56 In consultation with the Brewer Firm and its “Special Litigation

 Committee” (i.e., the Enforcement Action committee), LaPierre “determined that a Chapter 11

 reorganization” would “advance the best interests of the NRA” and Sea Girt. 57 The Board

 thereafter resolved to put the NRA in bankruptcy and continue retaining the Brewer Firm as

 “special counsel.”58 However, it now appears that the NRA Board was never truly included in any

 part of this “resolution.” NRA Board Member, Judge Philip Journey, recently filed a Motion for

 Appointment of Examiner in these proceedings, in which he explained to the Court:

         In direct violation of its own bylaws, the NRA did not disclose to the board of
         directors its intent to seek Chapter 11 relief. In further violation of the bylaws, no
         solicitation to the board for votes of approval of the filing was conducted. In fact,
         one or more board members only became aware of this case through media
         outlets.59


 53
    See NRA Bankr., ECF 1 at 5 (“WHEREAS, the NRA is the single member and manager of Sea Girt, a Texas limited
 liability company”); Sea Girt Action, ECF 1 at 13 (List of Equity Security Holders pursuant to Federal Rule of
 Bankruptcy Procedure Rule 1007(a)(3)).
 54
    See Sea Girt Bankr., ECF 13 (Sea Girt’s Creditor Matrix); Sea Girt Action, ECF 20.
 55
    See NRA Bankr., ECF 1 at 5.
 56
    See id.
 57
    See id.
 58
    See NRA Bankr., ECF 1 at 6.
 59
    See NRA Bankr., ECF 144 at ¶ 16 (internal footnotes omitted).

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 Thus it appears that, consistent with its previous conduct, the NRA’s management has taken

 actions in direct contradiction to its own bylaws and once again steamrolled its own Board of

 Directors in favor of LaPierre’s authoritarian regime.

         28.      Further exposing the NRA’s fraud is its contradictory statements to this Court and

 the public regarding the NYAG Enforcement Action. On the one hand, the NRA and its “special

 counsel” (Brewer Firm) repeatedly confirmed the NRA is not afraid of or running away from the

 NYAG.60 On the other hand, the NRA has separately described the Enforcement Action as the

 most significant piece of litigation in the NRA’s history. And, according to the NRA’s own board

 resolution, it was the Special Litigation Committee formed specifically to manage the Enforcement

 Action that decided (along with LaPierre) to file bankruptcy.61 In similar contradiction, the NRA

 told this Court it is “ready and willing to go forward” with the Enforcement Action proceeding,62

 but separately told the New York court63 that it “reserves its rights” to seek relief from the Court

 to stay that matter. Stated differently, the NRA claims that it is seeking to get away from New

 York and the NYAG by filing this bankruptcy, including in order to consolidate the Enforcement

 Action to save litigation expense, but at the same time is taking the position that the Enforcement

 Action can and should proceed full steam ahead.

         29.      While the NRA filing seems primarily geared towards avoiding regulatory

 oversight from the NYAG, the NRA was well aware that it would cause substantial delay in other

 lawsuits as well. For example, just three days after filing the Bankruptcy Case, on January 18,




 60
    See First Day Motions Hr’g Tr. at 15:17-18 (Jan. 20, 2021).
 61
    See NRA Bankr., ECF 1 at 5.
 62
    See First Day Motions Hr’g Tr. at 19:6-7 (Jan. 20, 2021).
 63
    See Enforcement Action, Dkt. 205 at 1 (“the NRA is available to proceed with the hearing and adjudication of its
 pending motion to transfer venue…and motion to dismiss or stay this action.”).

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 2021, the NRA was scheduled to begin the Final Arbitration Hearing against the former head of

 the NRA’s Institute for Legislative Action, Cox, who was forced to file a motion to lift stay.64

          30.      In addition, the near-two-year lawsuit between the NRA and AMc, scheduled for

 trial in September 2021, is now in jeopardy of being derailed unless the bankruptcy is dismissed

 or the stay is lifted. Indeed, just four days after the Petition Date, pursuant to court-ordered

 deadline, the NRA expected to receive an amended counterclaim in the Texas Action, which the

 NRA knew would include claims against it for fraud, civil conspiracy, and business disparagement,

 and claims against the NRA Foundation for operating as the NRA’s alter ego.

          31.      As the NRA (with the help of its litigation counsel) is adept at doing, this

 bankruptcy filing was perfectly poised, and upon information and belief, is intended to stall these

 several, negative actions looming against the NRA.

                               IV.       ARGUMENTS AND AUTHORITIES

      A. The NRA’s Bad Faith Requires Dismissal Under 11 U.S.C. § 1112(b) for “Cause”
         and the Court’s Inherent Power to Prevent Abuse Under 11 U.S.C. § 105.

          32.      “Every bankruptcy statute since 1898 has incorporated literally, or by judicial

 interpretation, a standard of good faith for the commencement, prosecution, and confirmation of

 bankruptcy proceedings.”65 The Bankruptcy Code mandates that, on the request of a party in



 64
   See NRA Bankr., ECF 63 at 2.
 65
   Little Creek 779 F. 2d at 1071; see also In re Marsch, 36 F.3d 825, 828 (9th Cir. 1994) (“courts have overwhelmingly
 held that a lack of good faith in filing a Chapter 11 petition establishes cause for dismissal”); In re Humble Place Joint
 Venture, 936 F.2d 814, 817 (5th Cir. 1991) (following Little Creek); In re Winshall Settlor’s Tr., 758 F.2d 1136, 1137
 (6th Cir. 1985) (noting an “implicit prerequisite to the right to file is “good faith” on the part of the debtor”); In re
 Albany Partners, Ltd., 749 F.2d 670, 674 (11th Cir. 1984) (noting the equitable nature of “cause” determinations
 “support the construction that a debtor’s lack of good faith may constitute cause for dismissal”); In re Victory Constr.
 Co., Inc., 9 B.R. 549, 551–57, 558 (Bankr. C.D. Cal. 1981) (chronicling the history and development of the good faith
 doctrine under the Bankruptcy Act of 1898, and concluding, “It would be more than anomalous to conclude that in
 consolidating the provisions of Chapter X, XI, and XII in Chapter 11 of the Code, Congress intended to do away with
 a safeguard against abuse and misuse of process which had been established and accepted as part of bankruptcy
 philosophy (either by statute or decisional law) for almost a century.”).

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 interest, a court “shall convert” a Chapter 11 bankruptcy case to Chapter 7 “or dismiss a

 case…whichever is in the best interests of the creditors and the estate, for cause.”66 Since at least

 1986, the Fifth Circuit has held that a bankruptcy filed without “good faith” should be dismissed

 under the “cause” standard in Section 1112(b).67

          33.      “[G]ood faith implies an honest intent and genuine desire on the part of the

 petitioner to use the statutory process to effect a plan of reorganization and not merely as a device

 to serve some sinister or unworthy purpose.”68 As the Fifth Circuit has expressly found, “[t]he

 good faith standard protects the integrity of the bankruptcy courts and prohibits a debtor’s misuse

 of the process where the overriding motive is to delay creditors without any possible benefit, or to

 achieve a reprehensible purpose through manipulation of the bankruptcy laws.”69 Additionally,

 the good faith standard maintains the integrity of the bankruptcy process by providing equitable

 bankruptcy relief only to debtors with “clean hands.”70

          34.       “Bankruptcy Courts are courts of equity, and a court of equity is enabled to

 frustrate fraud and work complete justice” with “broad statutory power,”71 including authority to




 66
    11 U.S.C. § 1112(b)(1), (4) (emphasis added). See also In re Cedar Short Resort, Inc., 235 F.3d 375, 379 (8th Cir.
 2000).
 67
    See, e.g., In re Humble Place Joint Venture, 936 F.2d 814, 816-17 (5th Cir. 1991) (following In re Little Creek Dev.
 Co., 779 F. 2d 1068, 1071 (5th Cir. 1986)); In re Elmwood Dev. Co., 964 F.2d 508, 510 (5th Cir. 1992).
 68
    Cedar Shore, 235 F.3d at 379 (quoting In re Metropolitan Realty Corp., 433 F.2d 676, 678 (5th Cir. 1970)).
 69
    Elmwood Dev., 964 F.2d 508, 510 (5th Cir. 1992) (“the good faith rule . . . has been properly honored by the
 bankruptcy court’s dismissal”); see also Little Creek, 779 F.2d at 1072 (good faith requirement prevents “abuse of the
 bankruptcy process by debtors whose overriding motive is to delay creditors without benefiting them in any way or to
 achieve reprehensible purposes”).
 70
    Little Creek, 779 F.2d at 1072.
 71
    See Pipkins-Thomas v. United States, 223 Fed. Appx. 310, 313 (5th Cir. 2007) (internal quotations omitted) (noting
 that the Bankruptcy Code vests bankruptcy courts with latitude to carry out provisions of the Code and prevent abuses
 of process).

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 dismiss an action sua sponte when filed in bad faith.72 With this in mind, the Fifth Circuit has

 provided necessary guidance on how the bankruptcy court should employ its discretion:

          The good faith determination depends largely upon the bankruptcy court's on-the-
          spot evaluation of the debtor's financial condition, motives, and the local financial
          realities. A collation of factors, rather than any single datum, controls resolution of
          this issue. In determining whether a petition was filed with the requisite good faith,
          the court must examine the facts and circumstances germane to each particular
          case.73

 The totality of the circumstances is generally used to evaluate whether a filing is made in good

 faith.74 In any event, a court’s determination of bad faith “is a finding of fact reviewed for clear

 error.”75

          35.      As previously discussed, bad faith is “cause” to dismiss a Chapter 11 case, pursuant

 to Section 1112.76 After the movant satisfies the initial burden to make a prima facie showing of

 bad faith, the burden shifts to the bankruptcy petitioner to demonstrate good faith.77


 72
    See In re Art Midwest, Inc., No. 04-91225-RFN-11, 2006 Bankr. LEXIS 12, at *9 (Bankr. N.D. Tex. Jan. 5, 2006)
 (noting the Little Creek court “instructed bankruptcy courts to be vigilant for those cases where the rehabilitative
 purposes of chapter 11 will not be served”); see also 11 U.S.C. § 105(a) (permitting sua sponte action “to prevent an
 abuse of process”).
 73
    Elmwood Dev., 964 F.2d at 510; see also In re Briggs-Cockerham, L.L.C., No. 10-34222-BJH-11, 2010 Bankr.
 LEXIS 4132, at *17 (Bankr. N.D. Tex. Nov. 23, 2010) (Houser, J.) (holding bad faith determination “depends largely
 upon the bankruptcy court’s on-the-spot evaluation of the debtor’s financial condition, motives, and the local financial
 realities”); Investors Grp., LLC v. Pottorff, 518 B.R. 380, 384 (N.D. Tex. 2014) (affirming the Fifth Court’s standard
 that “bad faith to secure a litigation advantage in another forum is not only case dispositive but also necessitates a
 dismissal”).
 74
    See, e.g., Cedar Shore, 235 F.3d at 379 (citing Little Creek, 779 F.2d at 1072); Pottorff, 518 B.R. at 384 (applying
 totality of circumstances analysis).
 75
    Pottorff, 518 B.R. at 382 (quoting In re Jacobsen, 609 F.3d 647, 652 (5th Cir. 2010)). The Pottorf court also clarified
 that an order from the Fifth Circuit in another case indicated “bad faith to secure a litigation advantage in another
 forum is not only case dispositive but also necessitates a dismissal.” See id. at 384 (discussing In re Brazos Emergency
 Physicians Ass’n, P.A., 471 Fed. Appx. 393, 394 (5th Cir. 2012) (per curiam)).
 76
    See In re Leslie, No. 98-35386-H3-11, 1999 Bankr. LEXIS 2113, at *4 (Bankr. S.D. Tex. Feb. 11, 1999) (citing
 Humble Place, 936 F.2d at 816-18); Elmwood Dev., 964 F.2d at 510 (“Lack of good faith in the filing of a Chapter 11
 bankruptcy petition constitutes cause for dismissal under 11 U.S.C. § 1112(b).”).
 77
    See In re Mirant Corp., No. 03-46590, 2005 Bankr. LEXIS 1686, at *27 n.20 (Bankr. N.D. Tex. Jan. 26, 2005)
 (mem. op.) (“The movant has the initial burden to present a prima facie case alleging bad faith; once achieved, the
 burden shifts to the debtor to prove that the petition was filed in good faith.”); In re Sherwood Enters., Inc., 112 B.R.
 165, 172 (Bankr. S.D. Tex. 1989) (describing the same burden shifting); In re Mense, 509 B.R. 269, 277 (Bankr. C.D.
 Cal. 2014) (the moving party has the initial burden of making out a prima facie case of bad faith, and once “such a
 showing has been made, the burden shifts to the debtor to establish that its chapter 11 case was filed in good faith”

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          36.      This Court has held that “bad faith to secure a litigation advantage in another forum

 is not only case dispositive but also necessitates a dismissal.”78 Similarly, in In re Kickapoo

 Kennels, LLC, the Southern District of Texas dismissed a bad faith filing, where the debtor

 operated profitably pre- and post-petition because “[t]here was no financial need” to file the

 Chapter 11 bankruptcy other than to gain unfair advantage in litigation.79 Indeed, “[s]everal courts

 have dismissed bankruptcy cases based on the fact that the debtor, in filing a chapter 11 petition,

 was attempting to gain unfair advantage” in existing litigation.80 After all, “Congress designed

 Chapter 11 to give those businesses teetering on the verge of a fatal financial plummet an

 opportunity to reorganize on solid ground and try again, not to give profitable enterprises an

 opportunity to evade contractual or other liability.”81

          37.      The Fifth Circuit has also found dismissal appropriate when a filing is guided by

 litigation tactics. In In re Antelope Techs., Inc., the Fifth Circuit evaluated a bad faith case where

 a chapter 11 bankruptcy was initiated by the controlling shareholders of the debtor who had been

 sued.82 The bankruptcy court had “found that the petition was filed to gain advantage in the

 shareholder litigation rather than for a reorganization.” 83 The bankruptcy court reasoned that

 “although [the controlling shareholders] saw an [alleged] opportunity for growth of [Antelope]’s

 business through recapitalization, [Antelope]’s near-term capital needs were not so urgent as to




 (quoting In re Avalon Hotel Partners, LLC, 302 B.R. 377, 384 (Bankr. D. Or. 2003)); In re Paolini, 312 B.R. 295,
 305 (Bankr. E.D. Va. 2004) (mem. op.).
 78
    See Pottorff, 518 B.R. at 384.
 79
    See No. 12-39321-H3-11, 2013 Bankr. LEXIS 2499, at *4 (Bankr. S.D. Tex. Jun. 19, 2013).
 80
    See In re Leslie, 1999 Bankr. LEXIS 2113, at *4 (Bankr. S.D. Tex. Feb. 11, 1999) (citing array of cases). In Leslie,
 the court dismissed the Chapter 11 petition, finding that the debtor filed bankruptcy to gain an unfair advantage in
 litigation. See id. at *5.
 81
    Cedar Shore, 235 F.3d at 381 (emphasis added) (internal quotations omitted).
 82
    431 Fed. Appx. 272, 273 (5th Cir. 2011).
 83
    Id.

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 cause the filing of a Chapter 11 petition at the time [Antelope]’s board authorized and directed [a

 controlling shareholder] to file it . . .”84 On appeal, the district court affirmed, and on further

 appeal, the Fifth Circuit held that “there was no clear error in the finding that the purpose of the

 petition was not primarily to reorganize or respond to financial crisis but instead was to gain unfair

 advantage in the shareholder derivative action.”85

         38.     In the above cases within the Fifth Circuit jurisprudence, nowhere does any court

 adopt a subjective standard that requires a showing that a debtor intended to misuse a bankruptcy

 filing. Rather, Fifth Circuit courts generally look objectively at the primary purposes of a debtor’s

 filing to determine whether it met the requirements of a good faith standard.86

         39.     The Third Circuit’s approach to dealing with petitions filed by solvent companies

 seeking to gain advantages in ongoing litigation is consistent with that of the Fifth Circuit. In the

 seminal case of In re SGL Carbon Corporation, the Third Circuit (in adopting a good faith

 standard) carefully analyzed the appropriateness of a dismissal in a scenario identical to that of the

 NRA’s, whether “the Chapter 11 petition filed by a financially healthy company in the face of

 potentially significant civil antitrust liability complies with the requirements of the Bankruptcy

 Code.”87

         40.     In SGL Carbon, a myriad of anti-trust lawsuits were filed against the debtor.88 A

 year later, the debtor filed what appeared to be a pre-planned bankruptcy, wherein a plan and




 84
    Id.
 85
    Id. at 275.
 86
    See Elmwood Dev., 964 F.2d at 512 (“Because the good faith standard is an objective one, the court was not
 constrained to entertain and give dispositive weight to the subjective state of mind of Elmwood’s manager.”)
 (emphasis added).
 87
    200 F.3d 154, 156-57 (3d Cir. 1999).
 88
    Id. at 157.

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 disclosure statement were filed on the same day of its voluntary Chapter 11 petition.89 In its

 disclosure statement, the debtor identified the anti-trust litigation as the only factor leading to the

 Chapter 11 filing.90 A day after its petition date, the debtor amplified its disclosure through a press

 release publicly stating that:

                  “Chapter 11 protection provides the most effective and efficient means for
                   resolving the civil antitrust claims”;

                  “SGL Carbon is financially healthy”; and

                  “[B]ecause certain plaintiffs continue to make excessive and unreasonable
                   demands, SGL CARBON Corporation believes the prospects of ever
                   reaching a commercially practicable settlement with them are remote.”91

 Contemporaneously, the chairman of the debtor’s German parent company proclaimed to

 securities analysts—not dissimilar to major donors or sponsors of the NRA—that the debtor was

 “financially healthier than before” and the filing had nothing to do with “serious insolvency or

 credit problems.”92

         41.       Within a month after the debtor filed, the official committee of unsecured creditors,

 comprised primarily of plaintiffs in the anti-trust suits, filed a motion to dismiss the bankruptcy on

 bad faith grounds.93 Within two months after the filing, the presiding district court conducted a

 hearing on the dismissal, wherein it found—based solely on documentary and deposition testimony

 and, significantly, without applying a good faith filing standard—that “the petition furthered the

 purpose of Chapter 11 because plaintiffs’ litigation was imperiling SGL Carbon’s operation by




 89
    Id. at 156-57; In re SGL Carbon, Case No. 98-02779-JJF (Bankr. D. Del. Dec. 16, 1998) (Farnan, J.) [Dkt. Nos. 2-
 3, Plan and Disclosure Statement].
 90
    Id. at 157.
 91
    Id.
 92
    Id. at 158 (internal quotations omitted).
 93
    Id. at 158.

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 distracting its management, was potentially ruinous and could eventually force the company out

 of business.”94

          42.      On appeal, the Third Circuit first noted that the district court “made no findings that

 SGL Carbon filed for bankruptcy for reasons other than to improve its negotiating position with

 plaintiffs.”95 Following precedent from the First, Second, Fourth, Fifth, Sixth, Eighth, and Ninth

 Circuits,96 the Third Circuit adopted the good faith standard and reasoned that:

          The requisite fact intensive inquiry requires determining where SGL Carbon’s
          petition falls along the spectrum ranging from the clearly acceptable to the patently
          abusive. We first review the District Court’s findings of fact and then examine the
          totality of facts and circumstances to determine whether they support a finding of
          good faith.97

          43.      Notwithstanding the discretionary standard of review and based on the

 circumstances of the filing, the Third Circuit rejected the excuse of the debtor (and findings by the

 district court) that: (a) “‘the anti-trust litigation posed a serious threat to [the debtor’s] continued

 operations’” and (b) “the [anti-trust] litigation might result in a judgment that could cause the

 company ‘financial and operational ruin.’”98 Instead, Third Circuit found that:

          Whether or not SGL Carbon faces a potentially crippling antitrust judgment, it is
          incorrect to conclude it had to file when it did. As noted, SGL Carbon faces no
          immediate financial difficulty. All the evidence shows that management repeatedly
          asserted the company was financially healthy at the time of the filing. Although
          the District Court believed the litigation might result in a judgment causing
          “financial and operational ruin” we believe that on the facts here, that assessment
          was premature. A Chapter 11 petition would impose an automatic stay on all efforts
          to collect the judgment and would allow the company the exclusive right to
          formulate a reorganization plan under which the amount of the judgment could be
          adjusted to allow the company to reorganize. SGL Carbon has offered no evidence
          it could not effectively use those protections as the prospect of such a judgment

 94
    Id.
 95
    Id.
 96
    Id. at 160-161.
 97
    Id. at 162.
 98
    Id.; see also id. at 159 (“Consistent with the other courts of appeals to consider the issue, we believe this decision
 is committed to the sound discretion of the bankruptcy or district court and will review for abuse of discretion.”).

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          became imminent. The District Court’s finding that the petition had to be filed at
          that particular time to avoid financial ruin and therefore was made in good faith is
          clearly contradicted by the evidence.99

          44.       In the end, based on objective factors,100 the Third Circuit held the debtor did not

 file for valid reorganization purposes, but in the hopes that a “financially solvent compan[y]

 [could] rapidly conclude litigation to enable a continuation of their business.”101 And, despite the

 debtor’s pretextual excuses, the Court held that “[t]he mere possibility of a future need to file,

 without more, does not establish that a petition was filed in ‘good faith.’” 102 This Court has

 followed the same reasoning in the Mirant case.103

          45.       The Eight Circuit similarly has found that surrounding circumstances, as evidenced

 by public announcements, effectively demonstrate a debtor’s lack of good faith. In Cedar Shore,

 a representative of the debtor “had publicly declared that the business was doing well and that the

 corporation was poised to turn a profit.”104 The Eighth Circuit, in affirming the dismissal of the

 debtor’s bankruptcy petition on bad faith grounds, held that the “primary motivation for filing

 bankruptcy was to dispose of the [pending] lawsuit,” evident by the fact the debtor “was not in

 dire financial straits.”105



 99
    Id. at 163 (emphasis added).
 100
     Id. at 164 (“SGL Carbon, by its own account, and by all objective indicia, experienced no financial difficulty at the
 time of filing nor any significant managerial distraction. Although SGL Carbon may have to file for bankruptcy in the
 future, such an attenuated possibility standing alone is not sufficient to establish the good faith of its present petition.”).
 101
     See Cedar Shore, 235 F.3d at 380 (quoting SGL Carbon, 200 F.3d at 169).
 102
     See SGL Carbon, 200 F.3d at 169. See also ECF 28 ¶ 25 (the NRA including “additional legal proceedings [that]
 may be filed in the near future” as a basis for its bankruptcy filing); Frist Day Motions Hr’g Tr. at 10:17-19 (counsel
 telling the Court the NRA considered “potential litigation that might be coming down the road” in filing bankruptcy)
 & 11:8-10 (“In this particular case, the NRA, like a lot of companies, was facing not only current litigation, but
 potential litigation.”).
 103
     See In re Mirant Corp., No. 03-46590, 2005 Bankr. LEXIS 1686, at *25 (Bankr. N.D. Tex. Jan. 26, 2005) (Lynn,
 J.) (mem. op.); SGL Carbon, 200 F.3d. at 165-66.
 104
     Cedar Shore, 235 F.3d at 380.
 105
     See Cedar Shore, 235 F.3d at 380. In fact, a representative of the debtor “had publicly declared that the business
 was doing well and that the corporation was poised to turn a profit.” See id.

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                1. The NRA Filed to “Dump New York” as a Litigation Tactic.

          46.      Ignoring the guidance provided by Antelope Techs., SGL Carbon, and Cedar Shore,

 on the same day the NRA filed the Bankruptcy Case, the NRA’s leader and top executive publicly

 declared the NRA is “not insolvent” and is “as financially strong as [it has] been in years.”106

          47.      As recited above in his letter to the NRA members, LaPierre unequivocally

 explained that the purpose for the restructuring was not because of the NRA’s financial difficulties,

 but instead to escape scrutiny and legal accountability by New York officials.107 Just like the

 debtor’s president in SGL Carbon, LaPierre claimed the Enforcement Action is “costly” and

 “distracting.”108 In the same breath, he assured the NRA members that its business would continue

 uninterrupted—i.e., any “distraction” is not actually negatively impacting the NRA’s

 operations.109

          48.      Much like SGL Carbon, the NRA has substantial net assets,110 “is current on all

 obligations,” and has not defaulted.111 The NRA also does “not presently anticipate needing to



 106
     See Letter from Wayne, WWW.NRAFORWARD.ORG (Jan. 15, 2021), https://www.nra forward.org/waynesletter; see
 also SGL Carbon, 200 F.3d at 158 (SGL Carbon was “financially healthier than before” and denied the antitrust
 lawsuits were negatively impacting its business operations.).
 107
     See Cedar Shore, 235 F.3d at 380 (a representative of the debtor “had publicly declared that the business was doing
 well and that the corporation was poised to turn a profit”).
 108
     See Letter from Wayne, WWW.NRAFORWARD.ORG; see SGL Carbon, 200 F.3d at 158 (overruling the lower court’s
 finding that distractions of litigation would justify the encouraging of a Chapter 11 filing).
 109
     See Letter from Wayne, WWW.NRAFORWARD.ORG (“NRA supporters will continue to enjoy all their full member
 benefits…We will continue to publish and deliver your magazines. We will continue to train Americans and teach
 them firearm safety. We will continue to teach hunter safety. But most importantly, we will continue to fight for your
 freedom and the freedom of all Americans – as we have for all these years. In fact, we are expanding our national
 platform.”); see also SGL Carbon, 200 F.3d at 157 (The company was “financially healthy” and would not have filed
 the petition but for the “excessive” antitrust claims. The company “expect[ed] to continue [its] normal business
 operations.”).
 110
     See NRA Bankr., ECF 21 ¶ 10 (“The NRA’s total net assets are approximately $50 million”); see also SGL Carbon,
 200 F.3d at 166.
 111
     See NRA Bankr., ECF 28 ¶ 13; see also In re SGL Carbon Corp., 200 F.3d at 166 (“In addition, there is no evidence
 that SGL Carbon had difficulty meeting its debts as they came due, that it had any overdue debts, or that it had
 defaulted on any debts. Nor is there any evidence that SGL had any difficult raising or borrowing money, or otherwise
 had impaired access to the capital markets.”).

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 draw down” on its line of credit.112 One reason the NRA’s financial position is allegedly so strong

 is that “over this last year [it] has attracted hundreds of thousands of new members.”113

         49.      In representations to this Court during the First Day Motions hearing on January

 20, 2021, the NRA asserted that “based on litigation,” the NRA was comfortable with being able

 to pay creditors “in full,”114 i.e., the NRA is not currently under, and does not foresee being under,

 any financial constraint or inability to pay creditors—even with all of the expensive litigation.115

         50.      As mentioned above, the NRA is represented by the Brewer Firm in virtually all of

 its active lawsuits, which also seeks to become “special counsel” in this Bankruptcy Case.116

 Together, the Brewer Firm and the NRA formulated, planned, and executed these bankruptcy

 filings and related public statements as part of its litigation plan. 117 Indeed, the NRA has

 apparently already set aside an additional $2.551 million for the Brewer Firm to assist with this

 bankruptcy.118 In strikingly similar fashion to the debtor SGL Carbon, the NRA admitted its

 reason for its Chapter 11 filings is litigation, as explained by its proposed special counsel (Brewer):

         Under this plan, the Association wisely seeks protection from New York officials
         who it believes have illegally weaponized their powers against the NRA and its
         members, says William A. Brewer III, counsel to the NRA in those cases.119



 112
     See NRA Bankr., ECF 28 ¶ 13.
 113
     See NRA Bankr., ECF 28 ¶ 13 at ¶ 26; see also Questions & Answer, www.nraforward.org, https://www.nraforward
 .org/questionsanswers, (“Is the NRA going ‘bankrupt?’ No. In fact, this move comes at a time when the NRA is in
 its strongest financial condition in years…The NRA is not insolvent.”).
 114
     See First Day Motions Hr’g Tr. at 13:2-5 (Jan. 20, 2021).
 115
     Id. at 12:1-9.
 116
     See ECF 84 at Ex. B, Schedule 1 (NRA’s Application to Employ the Brewer Firm).
 117
     See n. 10.
 118
     ECF 84 at Ex. E ¶ 11.
 119
     Danny Hakim, N.R.A. Declares Bankruptcy and Seeks to Exit New York, NEW YORK TIMES (Jan. 15, 2021),
 https://www.nytimes.com/2021/01/15/us/politics/nra-bankruptcy.html?auth=login-google (quoting Brewer); see also
 The New York Times Reports the NRA Intends to Reincorporate in Texas, WWW.BREWERATTORNEYS.COM,
 https://www.brewerattorneys.com/news, last accessed Feb. 1, 2021; see also First Day Motions Hr’g Tr. at 15:2-5
 (“This is not a bad-faith failing, and we look forward to using the Chapter 11 to resolve the litigation and to move
 forward to emerge out of this bankruptcy as a company domiciled here in Texas…”).

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         51.       The NRA boldly urged this same reason before this Court in its opening paragraphs

 of its Informational Brief, beginning with “the partisan attacks the NRA confronts in New York”

 and describing “[e]fforts to weaponized state and local government power against the NRA.”120

 The NRA made its position even clearer when it provided the two following arguments in support

 of its bankruptcy filing:

                  “The NRA Contends with Voluminous, Overlapping Litigation and Politicized
                   Attacks In Its Domicile State”121; and

                  “The NRA Will Utilize Chapter 11 To Resolve Pending Claims, Rationalize
                   Contractual Relationships, And Relocate To Texas.”122

         52.       The NRA proclaimed it “seeks to avail itself of the protections of the Bankruptcy

 Code in order to continue its efforts to reduce operating costs and to address the ever-increasing

 litigation being filed against the NRA.”123

         The NRA instituted this chapter 11 reorganization proceeding to establish a
         centralized, neutral forum in which it can streamline, resolve, and address all
         outstanding claims and preserve its ability to pursue its constitutionally
         protected mission as a going concern.124

         53.       But, the NRA’s transparent motives are best revealed in a press release issued the

 same day of the bankruptcy filing:

         The NRA plan, which involves utilizing the protection of the bankruptcy court,
         has the Association dumping New York and organizing its legal and regulatory
         matters in an efficient forum. The move comes at a time when the NRA is in its
         strongest financial condition in years.125


 120
     See NRA Bankr., ECF 28 ¶ 1.
 121
     See NRA Bankr., ECF 28 § III (A) (emphasis added). See also SGL Carbon, 200 F.3d at 157 (“In SGL Carbon’s
 Disclosure Statement, in a section addressing ‘Factors Leading to the Chapter 11 Filing,’ SGL Carbon only discussed
 the antitrust litigation.”).
 122
     See NRA Bankr., ECF 28 § III (B).
 123
     See NRA Bankr., ECF 28 ¶ 26.
 124
     See NRA Bankr., ECF 28 ¶ 3 (emphasis added).
 125
     See Press Release, WWW.NRAFORWARD.ORG (Jan. 15, 2021), https://www.nraforward.org/press-release (emphasis
 added).

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          54.       At the first day hearing, the NRA’s bankruptcy lawyers then back tracked from the

 NRA’s public attacks on the NYAG, contending that the “Chapter 11 offers and an ability to

 centralize this litigation and deal with it in a rational and I think organized fashion.”126

          55.       In any event, whichever different NRA statement the Court ultimately chooses as

 the basis of its ruling, “obtaining a more convenient forum in litigation, standing alone, is not a

 good faith reason for filing a bankruptcy petition.”127 As the Eighth and Third Circuits would say,

 the NRA did not file for “valid reorganization of [a] financially troubled business” but solely to

 “rapidly conclude litigation to enable a continuation of their business” through another forum:128

          The plan aims to streamline costs and expenses, proceed with pending litigation in
          a coordinated and structured manner, and realize many financial and strategic
          advantages.129

          Under this plan, we seek protection from New York officials who illegally abused
          and weaponized the powers they wield against the NRA and its members.130

          The NRA is expected to emerge from these proceedings within the next six
          months.131


 126
     See First Day Motions Hr’g Tr. at 11:15-17 (Jan. 20, 2021).
 127
     See In re Alexandra Trust, 526 B.R. 668, 675 (Bankr. N.D. Tex. 2015); see also Danny Hakim & Mary Williams
 Walsh, The N.R.A. Wants to ‘Dump’ Its Regulators via Bankruptcy. Will It Succeed?, NEW YORK TIMES (Jan. 22,
 2021), https://www.nytimes.com/2021/01/21/business/nra-bankruptcy-new-york.html (University of Pennsylvania
 Law School bankruptcy professor noting, for good faith, the debtor cannot proclaim it does not need bankruptcy but
 only filed because of some other problem).
 128
     See Cedar Shore, 235 F.3d at 380 (quoting SGL Carbon, 200 F.3d at 169). See also NRA Bankr., ECF 31 ¶ 3
 (“The NRA instituted this Chapter 11 reorganization proceeding to establish a centralized, neutral forum…”); First
 Day Motions Hr’g Tr. at 11:8-17 (Jan. 20, 2021) (arguing the NRA “needed both the breathing spell that Chapter 11
 offers and an ability to centralize this litigation and deal with it in a rational and I think organized fashion”) & at 12:7-
 9 (“my client looked at this and realized there had to be a way to deal with all of this litigation in a centralized forum”)
 & at 12:10-23 (further discussing need for centralization because of the opposition to the NRA’s attempt at
 multidistrict litigation). Additionally, the ability to pay debts is one factor compelling a finding of an invalid
 reorganization purpose. See SGL Carbon, 200 F.3d at 164. That the NRA has publicly stated it is even more financially
 healthy than before, coupled with its representations that it can pay creditors in full, demonstrates the NRA does not
 have a valid purpose for reorganization. See NRA Bankr., ECF 28 ¶ 27; First Day Motions Hr’g Tr. at 13:3-5, 15:2-6
 (Jan. 20, 2021).
 129
     See Letter from Wayne, WWW.NRAFORWARD.ORG (Jan. 15, 2021), https://www.nra forward.org/waynesletter.
 130
     Id.
 131
     See Questions & Answers, WWW.NRAFORWARD.ORG, https://www.nraforward.org/questionsanswers, last accessed
 Feb. 1, 2021 (emphasis added).

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          56.      The attempt to gain unfair advantage in litigation is prima facie bad faith. 132

 Considering the purpose of Chapter 11 is “to give those businesses teetering on the verge of a fatal

 financial plummet an opportunity to reorganize on solid ground and try again,” 133 the NRA’s

 attempt to evade its contractual obligations and legal liability makes a mockery of the bankruptcy

 system. Just as debtor in SGL Carbon, the NRA’s (a) $50+ million net worth, (b) confirmation of

 financial health, and (c) attempts at forum shopping and obtaining leverage in litigation merit

 dismissal. Because the NRA is seeking “to achieve objectives outside the legitimate scope of the

 bankruptcy laws,”134 i.e., solely tactical advantage in litigation,135 the NRA is operating in bad

 faith, which requires dismissal.136

                2. The NRA Is Violating 28 U.S.C. § 959 by Not Complying with New York Law.

          57.      This case should also be dismissed because the NRA is attempting to violate New

 York state law, which requires either the NYAG’s or NY Supreme Court’s approval to dissolve or

 merge into or consolidate with a foreign nonprofit incorporated in another state.137 Pursuant to 28

 U.S.C. § 959, a trustee or debtor in possession “shall manage and operate” property of the

 bankruptcy estate “according to the requirements of the valid laws of the State in which such

 property is located.”138 Stated differently, “a bankruptcy petition is not a grant of immunity,”139



 132
     See In re Leslie, 1999 Bankr. LEXIS 2113, at *4 (citing various cases). Ultimately, the Leslie court found the
 debtor filed bankruptcy to gain an unfair advantage in litigation and dismissed the case. See id. at *5.
 133
     Cedar Shore, 235 F.3d at 381.
 134
     SGL Carbon, 200 F.3d at 165 (quoting In re Marsch, 36 F.3d at 828).
 135
     Id. (citing numerous cases finding that filing to obtain a tactical litigation advantage is outside of the “legitimate
 scope” of bankruptcy laws).
 136
     See 11 U.S.C. § 1112(b)(1), (4) (“the court shall” dismiss for cause (emphasis added)).
 137
     See NY CLS N-PCL § 907.
 138
     28 U.S.C. § 959(b). See also Ky. Emple. Ret. Sys. v. Seven Cntys. Servs., Inc., 823 Fed. App’x 300, 304 (6th Cir.
 2020) (“It is correct that the statute does not specify that it applies only to state laws enforcing police powers. And
 that we have only had occasion to apply § 959 in circumstances involving public health and safety does not create a
 limiting principle where none exists in the statutory text.”).
 139
     See In re Am. Coastal Energy, 399 B.R. 805, 810 (Bankr. S.D. Tex. 2009).

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 and a trustee or debtor-in-possession must comply with state law before obtaining the final relief

 sought through bankruptcy.140 “Congress did not intend for the Bankruptcy Code to pre-empt all

 state laws.”141

         58.       New York law requires permission of the NYAG before a not-for-profit

 organization can dissolve.142 New York law also requires the NRA to obtain NYAG approval or

 N.Y. Supreme Court approval to merge or consolidate with a foreign entity.143 Yet, the NRA’s

 strategy in this bankruptcy is transparent, if not clearly admitted. It has publicly stated that it

 “expect[s] to emerge from these proceedings within the next six months”144 by illegally dissolving

 in New York without the NYAG’s permission and reincorporating in Texas.145 Presumably, the

 NRA also wants this Court to bless the transfer of its assets from New York to Texas in the interest

 of creditors—another clear violation of New York state law.146 Stated differently, the very relief

 that the NRA is seeking through this chapter 11 (i.e., reorganization in Texas without the approval

 of the State of New York) is not permitted under the law and is further evidence of bad faith.




 140
     See, e.g., SEC v. Harris, No. 3:09-CV-1809-B, 2016 U.S. Dist. LEXIS 51708, at *28 (N.D. Tex. Apr. 18, 2016)
 (requiring compliance with state law for plugging a well, pursuant to 28 U.S.C. § 959(b) and foreign state law).
 141
     Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot., 474 U.S. 494, 505 (1986). See also In re Draughon Training
 Inst., Inc., 119 B.R. 921, 924 (Bankr. W.D. La. Apr. 10, 1990) (“The Code does not change the business and regulatory
 environment in which a debtor operates. A debtor-in-possession under Chapter 11 is not pro tanto excused by virtue
 of his bankruptcy from complying with valid and enforceable state and local regulation. By virtue of 28 U.S.C. §
 959(b), it is required to obey them.”). See further In re Tex. Pig Stands, Inc., 610 F.3d 937, 943 (5th Cir. 2010)
 (applying 28 U.S.C. § 959 where Chapter 11 trustee failed to remit state sales tax to the Texas Comptroller); see
 generally In re Al Copeland Enters., Inc., 991 F.2d 233, 237-38 (5th Cir. 1993).
 142
     See N-PCL 1002(d).
 143
     See NY CLS N-PCL § 907.
 144
     See Questions & Answers, WWW.NRAFORWARD.ORG.
 145
     See N-PCL 1002(d).
 146
      See, e.g., Brian Mittendorf & Sarah Webber, The NRA Declares Bankruptcy: 5 Questions Answered,
 WWW.THECONVERSATION.COM (Jan. 22, 2021), https://theconversation.com/the-nra-declares-bankruptcy-5-questions-
 answered-153423 (noting that “the NRA may not transfer its assets,” which “would not be released without consent
 from New York authorities”).

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          59.      Regardless of the NRA’s non-profit status, courts have repeatedly held that a debtor

 in bankruptcy must comply with applicable state law.147 Compliance with 28 U.S.C. § 959 focuses

 on the pre-petition and post-petition obligations of the debtor.148 In Ky. Emple. Ret. Sys. v. Seven

 Cntys. Servs., Inc.,149 the Sixth Circuit held that, pursuant to 28 U.S.C. § 959, a nonprofit debtor

 is required to comply with Kentucky law post-petition and continue to pay contributions to the

 Kentucky Employees Retirement System.

          60.      Similarly, in In re Draughon Training Institute, Inc., 150 the Bankruptcy Court

 upheld the Texas Education Association’s denial of the debtor’s certificate of approval—which

 denial prevented the debtor from continuing to accept and enroll students—on grounds that the

 debtor did not have a proper refunding policy in place and had questionable financial soundness.151

 In denying the debtor’s requested relief of enjoining the Association from restraining the debtor’s

 student enrollment, the Draughon court reasoned that, (a) pursuant to 28 U.S.C. § 959, “[f]ederal

 bankruptcy law is not designed to displace valid state and local law that is not in conflict”152 and

 (b) “[c]onsumer protection is a valid exercise of police and regulatory power for purposes of the

 [s]ection 362(b)(4) exemption from the automatic stay.”153


 147
     See Midlantic Nat'l Bank, 474 U.S. at 505 (“Title 28 U. S. C. § 959(b) provides additional evidence that Congress
 did not intend for the Bankruptcy Code to pre-empt all state laws.”); Am. Coastal Energy, 399 B.R. at 810 (“A
 bankruptcy petition is not a grant of immunity. Bankrupt debtors are no different from any citizen in that they must
 comply with state and federal laws.”).
 148
     See In re Northstar Offshore Grp., LLC, No. 16-34028, 2020 Bankr. LEXIS 1811, at *36 (Bankr. S.D. Tex. Jul.
 10, 2020) (A debtor’s obligation to expend funds to bring the estate into compliance with a state health and safety law
 is not contingent upon whether the obligation arose before or after the bankruptcy filing. . . . The analysis must focus
 not on just when the obligation arose, but whether the obligation continues to arise anew with the passage of each
 day. (quoting Am. Coastal Energy, 399 B.R. at 809-10)) .
 149
     823 F. App’x 300, 304 (6th Cir. 2020).
 150
     119 B.R. 921, 922-23 (Bankr. W.D. La. 1990).
 151
     See Draughon, 119 B.R. at 922-23.
 152
     Draughon, 119 B.R. at 924.
 153
     Id.; see also In re Charter First Mtg., Inc., 42 B.R. 380, 382-85 (Bankr. D. Or. 1984) (finding Washington's
 Consumer Protection Act had a valid public purpose, and that the imposition of injunctive relief, penalties and
 attorney’s fees on the debtor would further that purpose.).

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          61.      Other courts have similarly found that noncompliance with applicable state law and

 regulations constitutes grounds for dismissal.154 Here, the NRA does not even try to hide the fact

 that it is attempting to circumvent New York state law, which clearly proscribes dissolution

 without NYAG approval; it appears to be boasting about its attempted circumvention to play to its

 membership. This case is the prototype case for dismissal.

                3. The NRA’s Use of This Bankruptcy Constitutes Bankruptcy Fraud.

          62.      In using this bankruptcy to accomplish their scheme to escape New York and the

 NYAG, the NRA has committed bankruptcy fraud under 18 U.S.C. § 157. This section provides,

 in relevant part that:

          A person who, having devised or intending to devise a scheme or artifice to defraud
          and for the purpose of executing or concealing such a scheme or artifice or
          attempting to do so—

                (1) files a petition under title 11, including a fraudulent involuntary petition
                under section 303 of such title;

                (2) files a document in a proceeding under title 11; or

                (3) makes a false or fraudulent representation, claim, or promise concerning or
                in relation to a proceeding under title 11, at any time before or after the filing
                of the petition, or in relation to a proceeding falsely asserted to be pending under
                such title,

          shall be fined under this title, imprisoned not more than 5 years, or both.155



 154
     In re Charles George Land Reclamation Tr., 30 B.R. 918, 924 (Bankr. D. Mass. 1983) (“The dismissal of this case
 was a recognition by this Court that the appropriate forum to redress and correct this environmental nuisance [that
 threatens the health, safety and well-being of the people who surround it] in the most expeditious and efficient manner
 was the State court.”); see generally Ky. Emple. Ret. Sys., 823 Fed. Appx. at 305 (Regardless of the NRA’s non-profit
 status, courts have repeatedly held that a debtor in bankruptcy must comply with applicable state law.).
 155
     18 U.S.C. § 157(1)-(3). Generally, bankruptcy fraud involves “(1) a specific intent to defraud; (2) a scheme to
 defraud; and (3) filing a bankruptcy petition to conceal or execute that scheme.” See United States v. Spurlin, 664
 F.3d 954, 964 (5th Cir. 2011). See also 18 U.S.C. § 157; United States v. Chaker, 820 F.3d 204, 210 (5th Cir. 2016)
 (To demonstrate bankruptcy fraud, movant must show that the debtor “devised a scheme or artifice to defraud and
 that, for the purpose of executing that scheme, he made a false or fraudulent representation during a bankruptcy
 proceeding.”).

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         63.      “In bankruptcy court, honesty is so important that bankruptcy fraud is punishable

 as a crime under 18 U.S.C. § 157.”156 “The statute [18 U.S.C. § 157] makes the crime complete

 upon the filing of the bankruptcy petition when the filing is accompanied by the other two defined

 circumstances.”157 Success of the scheme is not an element of the crime.158

         64.      The statute is intended to be interpreted broadly.159 Under the predecessor to this

 statute, which is instrumental,160 courts held that the “scheme to defraud” is not defined according

 to technical standards. 161        Rather, such standard is the “reflection of moral uprightness,

 fundamental honesty, fair play, and right dealing in general and business life” of society’s

 members.162 It is therefore “not necessary that scheme be fraudulent on its face, but the scheme

 must involve some sort of fraudulent misrepresentation or omissions reasonably calculated to

 deceive persons of ordinary prudence and comprehension.”163 Indeed, “[t]he Supreme Court [has]

 recognized that the definition of ‘scheme or artifice to defraud’ is not to be limited to common law

 concepts of fraud and false pretenses.”164

         65.      Here, the intent to defraud can and should be derived from the circumstances

 surrounding the NRA’s affairs. Since the NRA, like all non-profits, seeks to voluntarily obtain

 funds from millions of unsuspecting consumers, the NRA’s management are well aware that they

 need to comply with the laws governing its affairs, including its own bylaws. These laws and


 156
     In re Cardwell, No. 09-43121, 2017 Bankr. LEXIS 1412, at *13 (Bankr. E.D. Tex. May 25, 2017).
 157
     United States v. Desantis, 237 F.3d 607, 613 (6th Cir. 2001).
 158
     See Desantis, 237 F.3d at 613.
 159
     See United States v. Louderman, 576 F.2d 1383, 1388 (9th Cir. 1978) (quoting United States v. Keane, 522 F.2d
 534, 544 (7th Cir. 1975), cert. denied, 424 U.S. 976 (1976) (“[T]he statute includes a broad proscription of behavior
 for the purpose of protecting society.”).
 160
     Durland v. United States, 161 U.S. 306 (1896); Louderman, 576 F.2d at 1388.
 161
     United States v. Van Dyke, 605 F.2d 220, 225 (6th Cir. 1979), cert. denied, 444 U.S. 994 (1979).
 162
     Van Dyke, 605 F.2d at 225.
 163
     Id.
 164
     United States v. McNeive, 536 F.2d 1245, 1247 (8th Cir. 1976) (explaining Durland v. United States, 161 U.S. at
 312-13).

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 bylaws are intended to protect consumers, and when the NRA chose New York as its home

 jurisdiction, also the citizens of New York. Following such regulations ensures to the members

 and donors of the NRA that the organization is legitimate and uses their funds primarily to advance

 the NRA’s stated mission.

         66.      The scheme or artifice is exposed through the NRA’s litigation tactic of filing this

 bankruptcy. Without requoting the NRA’s various representations to this Court and to the public

 (including its proposed special counsel and its bankruptcy counsel’s statements, even during a

 hearing before this Court), the NRA clearly stated it is not insolvent, is not experiencing any

 financial hardship, and it is filing to streamline litigation and avoid the NYAG. The scheme or

 artifice is exposed by the fact that the NRA is using the equitable relief of bankruptcy to do what

 it is otherwise prohibited from doing—dissolving without NYAG approval in contravention of

 New York law. The scheme or artifice is exposed by the NRA situating this Bankruptcy Case

 outside of New York based on its affiliate’s formation in Texas just two months ago, which affiliate

 is just a shell (and sham) company.

         67.      Sea Girt was formed a mere two months before the NRA used it to file this

 Bankruptcy Case. Sea Girt’s sole managing member is the NRA.165 The only allegations about

 Sea Girt in Debtors’ Informational Brief are:

         Sea Girt is a single-member limited liability company organized under Texas law,
         and is wholly owned by the NRA. The NRA and Sea Girt currently maintain their
         headquarters and principal place of business in Fairfax, Virginia.166

         Sea Girt’s operations are directed by the NRA as its sole managing member.167



 165
     See NRA Bankr., ECF 28 ¶ 7; Sea Girt Bankr., ECF 1 at 13.
 166
     See NRA Bankr., ECF 28 ¶ 6.
 167
     See NRA Bankr., ECF 28 ¶ 7.

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         68.      On information and belief, Sea Girt does not have meaningful bills or debts, Sea

 Girt does not have its own place of business, and Sea Girt does not have employees.168 Indeed,

 immediately preceding the statement that Sea Girt’s operations are directed by the NRA, Debtors

 informed the Court that the NRA “employs approximately 490 people.”169 Supported by Sea

 Girt’s scant disclosures, like having a creditor matrix comprised solely of two insiders,170 it is

 apparent Sea Girt is a “mere shell, without substance” formed as a sham and fraud upon this Court

 and the NRA’s creditors solely to promote the NRA’s own interests in a manner not intended by

 Chapter 11.171

         69.      Yet, it was Sea Girt that led the way in this Bankruptcy Case. Sea Girt filed a bare

 bones petition first, followed by the NRA. Three days later, after different judges in each case had

 been assigned, the NRA then elected to file first day motions for both cases in the NRA case—not

 the Sea Girt case—even though it was likely aware that this Court’s internal rules require the first

 filed case—in this case, Sea Girt’s—to govern any first day pleadings and joint consolidation.

 While hoping Sea Girt’s existence was critical to venue being created for this filing, the NRA

 represented to the Court at the first day hearing that it naturally wanted to file in the NRA case

 because no one knew Sea Girt.172 Given the recent timing and location of its formation, the lack

 of assets, employees and operations, and the minimal disclosures, one cannot escape the

 conclusion that Sea Girt and this bankruptcy filings are part of a larger scheme to break the law.




 168
     See generally In re Zed, Inc., 20 B.R. 462, 462-63 (Bankr. N.D. Cal. 1982). See Sea Girt Bankr., ECF 1 at 11; Sea
 Girt Bankr., ECF 20 (Sea Girt amended its initial petition to include a mere two creditors—the NRA and its Deputy
 Chief of Staff).
 169
     See NRA Bankr., ECF 28 ¶ 7.
 170
     Sea Girt Bankr., ECF 13.
 171
     See In re Zed, Inc, 20 B.R. at 463 (holding that the Chapter 11 case was not filed in good faith).
 172
     See First Day Motions Hr’g Tr. 25:20-26:1.

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          70.      In In re Alexandra Trust, this Court found the debtor’s stated purpose of

 consolidating litigation coupled with the fact that it had “no operations, employees, or income”

 clearly demonstrated the petition was filed as a litigation tactic, which constituted “cause” for

 dismissal.173 The Court should repeat its finding in this case.

          71.      The NRA’s scheme is apparent: move away from New York and to Texas, using

 first, its now dismissed MDL filing, and next through bankruptcy by forming a sham organization

 through which it can attempt to obtain jurisdiction of this Court. The NRA even admits as much

 when it told this Court that it attempted to “streamline” its litigation (in actuality only four lawsuits)

 through MDL, but when the parties objected, it chose to file this chapter 11 bankruptcy:

          And you should also understand, Your Honor, that prior to the Chapter 11, the
          lawyers for the NRA had reached out to a number of the parties, from the New York
          Attorney General’s Office to various private parties who were in litigation with the
          NRA, about an MDL, a multidistrict litigation, in which all of the litigation, or all
          of it certainly related to the Attorney General and to the investigation and to
          some of the litigation against former vendors and others, would be brought in
          a centralized forum and resolved that way. And unfortunately, the parties, to an
          entity, refused. And absent being able to streamline discovery and have all of
          this litigation, or much of it, handled in a centralized forum, the NRA was
          indeed facing the adage, death by a thousand cuts.174

          72.      The NRA’s fraudulent intent is clearly to avoid the jurisdiction and pressure from

 the New York government and to “streamline” litigation against itself while continuing to pursue

 its own claims against its opponents but at a delayed pace more amenable to not receiving a bad

 judgment.175 The NRA’s decision to incorporate bankruptcy into its litigation scheme is when it


 173
     See 526 B.R. 668, 679-80 (Bankr. N.D. Tex. 2015).
 174
     See First Day Motions Hr’g Tr. at 12:10-23 (Jan. 20, 2021). As an aside, the fact that the NRA argued that
 opposition to its attempted four-lawsuit-consolidation MDL is a basis for the Bankruptcy Case further demonstrates
 the NRA’s intent—to manipulate those same four lawsuits in this forum. While other lawsuits are pending by and
 against the NRA, the NRA itself only focuses on those four.
 175
     In a similar case as here, a court in this district found “bad faith” when underlying litigation was pending for 27-
 plus months but the debtor filed for bankruptcy only 13 days before trial. See Pottorff, 518 B.R. at 383-84. See also
 Texas Action, ECF 198 (In a status report to Judge Fish on whether the Bankruptcy Case stays the Texas Action, the

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 triggered potential ramifications for bankruptcy fraud under 28 U.S.C. § 157. When it actually

 pulled the trigger and filed on the Petition Date, is when the violation of Section 157(a)(1) was

 complete. As in Pottorff, there is “sufficient basis to dismiss the petition for a finding of bad faith

 for filing the petition to gain a litigation advantage and for being solvent.”176 Those acting in

 concert with the NRA (i.e., the Brewer Firm and the NRA’s bankruptcy counsel) are likewise

 liable for this bankruptcy fraud.177

                4. The NRA’s Venue Shopping of This Case Is A Sign of Bad Faith.

          73.      As discussed above, Sea Girt is a sham entity that the NRA formed just two months

 ago to manufacture venue for this bankruptcy. Inferred from the lack of any disclosure, Sea Girt

 has no assets, no officers, no employees, no governance documents, no operations, no offices, no

 bank accounts, and only two insider creditors: an employee of the NRA and the NRA itself.178

 Notably, Bankruptcy Rule 1007(d) and the clear instructions on Form 204 require a debtor only

 list noninsider creditors on its Top 20 List. However, LaPierre (the NRA’s leader) verified Sea

 Girt’s Top 20 List, under penalty of perjury, despite its obvious falsehood.179

          74.      In addition to the NRA’s filing activities that conflict with well-settled internal rules

 of this Court, the NRA has also failed to provide any explanation for why this shell corporation,

 formed two months ago, needed to file bankruptcy at all, let alone in connection with the NRA.

 Indeed, the circumstances surrounding Sea Girt’s “existence” remain hidden.



 NRA stated its “position is that [its] claims against Defendants are not subject to the automatic stay of section 362(a)
 of the Bankruptcy Code, 11 U.S.C. § 362(a),” while “all of Defendants’ counterclaims against [the NRA] are subject
 to the automatic stay.”).
 176
     See Pottorff, 518 B.R. at 385.
 177
     See United States v. Spurlock, 214 Fed. Appx. 382, 387 (5th Cir. 2007) (“First, one need not be the named party in
 a bankruptcy proceeding to be guilty of conspiring to commit bankruptcy fraud.”).
 178
     See Sea Girt Bankr., ECF No. 20.
 179
     See Sea Girt Bankr., ECF No. 21.

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          75.      Indeed, the NRA, which has been in existence since 1871, has no legitimate purpose

 for forming a new shell in Texas less than 60 days ago.180 The sole purpose for forming Sea Girt

 was to circumvent the venue statute, 28 U.S.C. § 1408, and allow the NRA to avail itself of this

 Court’s jurisdiction. This flaunting of bankruptcy law further warrants dismissal.

          76.      If the NRA’s tactics become the acceptable method of manufacturing venue, the

 bankruptcy venue statute would be rendered illusory. Any company could simply file wherever it

 wanted, in any jurisdiction of the United States, by following the NRA’s straw-man strategy.

          77.      Bankruptcy Rule 1014(a)(2) expressly authorizes a court to dismiss a case filed in

 an improper venue, and 28 U.S.C. §1406(a) mandates dismissal if a transfer is not otherwise in the

 interest of justice.181 Here, Sea Girt’s petition was arguably filed in a proper forum because it is

 an organization formed in Texas. However, courts have expressly dismissed bankruptcy cases, on

 bad faith grounds, when forum shopping tactics have been employed. In In re Zed, Inc., a

 bankruptcy court dismissed a bad faith filing where the debtor:

               was formed not even one full year before filing for bankruptcy;

               did not now have and has never had a bank account, nor has the debtor ever had
                any money whatever;

               never had any employees;

               never paid any bills or debts;

               did not have its own place of business; and

               was a mere shell, without substance and no capital whatever had been
                committed to the corporation for payment of creditors.182


 180
     See NRA Bankr. ECF No. 63-1, Ex., E, Certificate of Formation at 1.
 181
     See, e.g., In re Houghton Mifflin Harcourt Publ’g Co., 474 B.R. 122, 124 (Bankr. S.D.N.Y. 2012) (“§ 1406 and its
 related caselaw leave the Court with no discretion.”).
 182
     See 20 B.R. at 463 (finding the corporation had no risk and the formation was a “sham and fraud upon” the creditors
 and court); see also In re Asanda Air II LLC, 600 B.R. 714, 725 (Bankr. N.D. Ga. 2019) (dismissal is warranted where

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 In other words, “[t]he principals of the corporation ha[d] absolutely nothing at risk.” 183

 Accordingly, in dismissing the case on bad faith grounds, the court held that the “[f]ormation of

 the debtor was a sham and a fraud upon [the creditor and the court]”184 and “[t]he debtor and its

 principals have abused the jurisdiction of this Court,” by using it to promote their own interests

 “in a manner not intended by Congress.”185

          78.      In In re Hall, Bayoutree Assocs., Ltd.,186 the Ninth Circuit similarly affirmed the

 dismissal of an improperly filed case on bad faith grounds where a Texas limited partnership,

 whose principal asset was an apartment complex in Houston, Texas, filed for chapter 11 relief in

 the District of Arizona. The court held that “[a]lthough dismissal of an action for improper venue

 is a harsh remedy, dismissal is proper where the filing in an improper forum evidences bad

 faith.”187

          79.      Here, dismissal is warranted because the NRA could not have filed bankruptcy in

 this jurisdiction without the use of a shell company formed in anticipation of the filing. Not only

 does the shell need no reorganization, being less than two months old, it serves no other purpose

 than to permit this filing to appear legitimate. Whether the Court should dismiss on this fact alone

 is within the Court’s discretion. However, when coupled with the NRA’s other significant acts of

 bad faith and fraud, the Court clearly has substantial justification to dismiss this case.




 venue brought in improper forum on bad faith); Palmer v. Dau, No. 6:10-cv-248-Orl-19KRS, 2010 U.S. Dist. LEXIS
 69329, at *6 (M.D. Fla. July 12, 2010) (“When venue would be proper in another district under [section] 1391,
 transferr is preferred over dismissal unless there is evidence that a case was brought in an improper venue in bad faith
 or in an effort to harass a defendant.”).
 183
     In re Zed, Inc., 20 B.R. at 463.
 184
     Id.
 185
     Id.
 186
     See generally 939 F.2d 802 (9th Cir. 1991).
 187
     Bayoutree Assocs., 939 F.2d at 806 (citing 1 J. Moore, A. Vestal & P. Kurland, Moore's Manual, Federal Practice
 and Procedure, § 7.13[1] (1990); cf. Phillips v. Illinois Cent. Gulf R.R., 874 F.2d 984, 986 (5th Cir. 1989)).

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       B. In the Alternative to Dismissal, the Court Should Appoint a Trustee under Section
          1104 for “Cause” and in the Interest of Creditors.

          80.      In the alternative to dismissal, an independent trustee should be appointed to

 administer this case. Bankruptcy Code Section 1104(a) sets forth the circumstances under which

 the court must order the appointment of a Chapter 11 trustee:

          (a) At any time after the commencement of the case but before confirmation of a
              plan, on request of a party in interest or the United States trustee, and after
              notice and a hearing, the court shall order the appointment of a trustee—

                   (1) For cause, including fraud, dishonesty, incompetence or gross
                       mismanagement of the affairs of the debtor by current management,
                       either before or after the commencement of the case, or similar cause…
                       or

                   (2) If such appointment is in the interests of creditors, any equity security
                       holders, and other interests of the estate.188

          81.      Based upon the evidence presented herein, exposing the NRA’s bad faith intent for

 initiating this Bankruptcy Case, Debtors and their management have acted fraudulently and

 dishonestly. Therefore, “cause” exists for the appointment of a trustee and the Court must order

 such appointment.189

          82.      Furthermore, a paramount duty of a trustee in a bankruptcy case is to act on behalf

 of the bankruptcy estate, that is, for the benefit of all the creditors of the estate, and to administer

 the assets and business of the estate in the interest of those creditors. “A debtor in possession, like

 a trustee, is a fiduciary holding the bankruptcy estate and operating the business for the benefit of

 its creditors and (if the value justifies) equity owners.”190 The Bankruptcy Code provides a vehicle



 188
     11 U.S.C. § 1104(a)(1)-(2).
 189
     See 11 U.S.C. § 1104(a).
 190
     In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002); see also In re Office Prods. of Am., Inc., 136
 B.R. 983, 986 (Bankr. W.D. Tex. 1992) (“In a Chapter 11 case, whether the debtor remains in possession of the
 prepetition assets and administers them for the benefit of the creditors, the debtor occupies a strictly fiduciary role.”).

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 for appointment of a trustee when the debtor’s principals fail to fulfill those rigorous

 responsibilities.191 The standard for appointment of a chapter 11 trustee under section 1104(a)(2)

 is flexible.192

         83.       The appointment of a trustee under Section 1104(a)(2) is appropriate in this case

 because of the NRA’s rampant mismanagement, corruption, and embezzlement by insider

 executives and board members, fraud, breaches of fiduciary duties, and a vexatious litigation as

 exposed by the NYAG, the Class Action plaintiff, and in the Texas Action.193 Critically, those

 misdeeds were performed by, at the direction of, or with the approval of the NRA’s leader for more

 than 40 years—LaPierre,194 the same one who assumed sole authority to file this bankruptcy195

 (apparently without the approval of the NRA Board196), and the same one who is verifying the

 NRA’s and Sea Girt’s false filings, under penalty of perjury.197 Neither the NRA, nor LaPierre at

 its helm, can realistically carry out the fiduciary duties of a debtor-in-possession toward creditors

 when both the NRA and LaPierre face liability for those misdeeds. Also important is that those

 same misdeeds affect the bankruptcy estate that the debtor-in-possession is required to maintain

 for the benefit of creditors. Indeed, it is likely that litigants against the NRA, like AMc, are the

 largest stakeholders in this Bankruptcy Case. Considering the highly contested nature of the

 pending lawsuits involving the NRA, plus the allegations of mismanagement, dishonesty, and


 191
     See 11 U.S.C. § 1104(a)(1)-(2).
 192
     See In re Royal Alice Props., LLC, 2020 Bankr. LEXIS 2354, *31 (Bankr. E.D. La. Sep. 4, 2020) (“Section
 1104(a)(2) creates a flexible standard and allows the appointment of a trustee even when no ‘cause’ exists.”).
 193
     See generally Enforcement Action Compl. [https://ag.ny.gov/sites/default/files/summons_and_complaint_1.pdf];
 Dell’Aquilla et al. v. Nat’l Rifle Ass’n, No. 3:19-cv-00679 (M.D. Tenn.) (“Class Action”), 2d Am. Compl., ECF
 No. 43; Texas Action, ECF No. 31 at 77-122.
 194
     See Enforcement Action Compl. at 34-68 (describing widespread violations of New York law of the NRA’s senior
 management under the leadership and direction of LaPierre); Texas Action, ECF No. 31 at 82-84, 92-98, 110, 113
 (describing LaPierre’s wrongful conduct and control over NRA).
 195
     See NRA Bankr., ECF No. 1 at 5.
 196
     See NRA Bankr., ECF No. 114 at ¶ 116.
 197
     See e.g., NRA Bankr., ECF No. 1 at 4; Sea Girt Bankr., ECF No. 1 at 4.

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 breaches of numerous obligations, it is unfathomable that under current management, the NRA

 can now serve as a fiduciary to those litigant-creditors.

         84.      A trustee also is needed to investigate and preserve valid derivative claims against

 current and/or former management for the benefit of creditors. The bankruptcy estate clearly has

 an interest in asserting those claims, once confirmed.198 Considering that the mismanagement,

 breaches of fiduciary duty, and fraud that has apparently gone unchecked for decades (which is

 one of the issues giving rise to the various lawsuits), it is clear that the Court cannot rely upon the

 NRA’s current management to properly oversee these bankruptcy claims. This is especially so

 when taking into account the allegations against proposed special counsel itself (Brewer and the

 Brewer Firm) raised by NRA executives and board members,199 in addition to outside litigants and

 journalists,200 and the fact that the Brewer Firm will continue to direct the NRA’s litigation strategy

 even here.

         85.      Thus, assuming the NRA is even entitled to the equitable relief bankruptcy

 provides, and that it even needs to reorganize at all, an independent fiduciary appointed by the

 Court is the best person to lead this bankruptcy, report to the Court and creditors and investigate,

 as necessary. The severity and corroboration of the allegations against the NRA’s management in

 the various lawsuits, and the evidence presented in support thereof, have demonstrated that the



 198
     See, e.g., Texas Action, ECF No. 31 at 77, 92-95, 111, 113.
 199
     See, e.g., Texas Action, ECF No. 105 at ¶¶ 9-19 (compiling testimony from North and other NRA leaders regarding
 concerns about Brewer Firm) (ECF No. 105 is a redacted version of the brief accompanying ECF No. 79, which was
 filed under seal); see also NRA v. North, No. 903843-20 (N.Y. Sup. Ct. 2020), Doc. 12, Def.’s Ans. (former NRA
 president North describing concerns over Brewer Firm legal fees and retaliation for raising concerns with NRA
 leadership).
 200
     See, e.g., Class Action, ECF No. 43 at ¶¶ 46-48 (describing North’s concerns about Brewer Firm and NRA
 spending); Will Van Sant, Ex-NRA Execs Fear Attorney is Shielding LaPierre at the Group’s Expense, TRACE, (Nov.
 24, 2020), https://www.thetrace.org/2020/11/nra-gun-lawsuits-bill-brewer-lapierre-attorney-legal-costs/ (“James’s
 suit also takes aim at the NRA’s relationship with Brewer’s firm itself, alleging that the group has been reckless in
 expanding the firm’s mandate and in the legal fees it has paid.”).

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 NRA’s management is entrenched and cannot realistically pursue a path moving forward in the

 best interest of the NRA’s creditors, donors, partners, and other interests. They have not done so

 yet. And doing so would be against their own personal interests. That conflict is incurable.

        86.     Thus, allowing the NRA to remain in possession poses an unjustifiable risk to the

 creditors and to the public. If the NRA expects to promote its cause and survive, changes must be

 made. But that is not the intention of the NRA’s current management and advisors. It is clear that

 they are using this bankruptcy instead as a tactic to cause delay and confusion in numerous lawsuits

 in numerous forums. This bankruptcy should be dismissed for its illegitimacy. But, to the extent

 this Court is inclined to let it proceed, the Court should appoint an independent chapter 11 trustee

 to oversee the NRA.

                                           V.    PRAYER

        Ackerman McQueen, Inc. concludes that the Bankruptcy Case should be dismissed as to

 the NRA and Sea Girt because (1) besides attempting to avoid the NYAG, the NRA is clearly

 using the equitable remedy of bankruptcy as a litigation tactic; (2) the NRA is attempting to

 circumvent New York’s statutory requirements for dissolution; and (3) the NRA (and Sea Girt) is

 not insolvent nor experiencing financial hardship.

        In the alternative to dismissal, AMc further concludes that the NRA cannot serve as debtor-

 in-possession because the NRA will be unable to manage the estate in the best interest of its

 creditors in compliance with its fiduciary duties as evidenced by (1) the allegations and evidence

 against the NRA in the various underlying cases concerning the NRA and its executives’

 mismanagement and (2) the very fact that NRA management is subjecting the NRA to this costly

 manipulation tactic to game the system.



 ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE,                         PAGE 40
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        WHEREFORE, AMc respectfully requests the Court enter an Order, substantially in the

 form attached hereto as Exhibit A, dismissing the Bankruptcy Case based upon a finding of bad

 faith under 11 U.S.C. § 1112(b), and/or based upon a finding of fraud in violation of 11 U.S.C. §

 157; or in the alternative, authorizing the appointment of a chapter 11 trustee. The Court should

 also grant such other and further relief to which AMc may be entitled.



 Date: February 10, 2021                             Respectfully submitted,

                                                     DORSEY & WHITNEY LLP

                                                     /s/ G. Michael Gruber
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                                                     ATTORNEYS FOR ACKERMAN MCQUEEN,
                                                     INC.


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
 has been served upon all parties named on the attached Master Service List by first-class U.S.
 Mail, and all parties receiving notice by and through the Court’s CM/ECF system on February 10,
 2021

                                             /s/ G. Michael Gruber
                                             G. MICHAEL GRUBER


 ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE,                      PAGE 41
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                           In re: Sea Girt LLC - Case No. 21-30080
               In re: National Rifle Association of America - Case No. 21-30085

                                   MASTER SERVICE LIST

                                    Debtor/Debtor’s Counsel




  National Rifle Association of America          Neligan LLP
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                                                         John D. Gaither
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                                                         jgaither@neliganlaw.com
  Sea Girt LLC
  11250 Waples Mall Road
  Fairfax, VA 22030

                                          U.S. Trustee

  Office of the United States Trustee
  Attn: Lisa Young
  Earle Cabell Federal Building
  1100 Commerce Street, Room 976
  Dallas, TX 75242

                                        Secured Creditors

  Atlantic Union Bank
  Attn: Andrew Kalin
  1800 Robert Fulton Drive, Suite 100
  Reston, VA 20191
  Email: andrew.kalin@atlanticunionbank.com

                                20 Largest Unsecured Creditors

  Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
  1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
  Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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  Gould Paper Corporation                        Infocision Management Corp.
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  New York, NY 10016

  Under Wild Skies                               Valtim Incorporated
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  Alexandria, VA 22314                           Forest, VA 24551

  Quadgraphics                                   Communications Corp of America
  N63W23075 Hwy. 74                              Attn: Judy Reid
  Sussex, WI 53089                               13195 Freedom Way
                                                 Boston, VA 22713

  Membership Advisors Public REL                 Salesforce.Com, Inc.
  11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
  Fairfax, VA 22030                              San Francisco, CA 94105

  Mercury Group                                  Speedway Motorsports, Inc.
  1601 NW Expressway, Suite 1100                 P.O. Box 600
  Oklahoma City, OK 73118                        Concord, NC 28026

  Image Direct Group LLC                         Google
  200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
  Frederick, MD 21701                            Mountain View, CA 94043-1351

  TMA Direct, Inc.                               United Parcel Services
  12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
  Manassas, VA 20109                             Philadelphia, PA 19170

  Membership Advisors Fund Raising               Stone River Gear, LLC
  11250 Waples Mill Road, Suite 310              P.O. Box 67
  Fairfax, VA 22030                              Bethel, CT 06801

  Krueger Associates, Inc.                       CDW Computer Centers, Inc.
  105 Commerce Drive                             P.O. Box 75723
  Aston, PA 19014                                Chicago, IL 60675

                                       Government Agencies


  Internal Revenue Service                       Office of Attorney General (NY)
  P.O. Box 7346                                  Attn: Letitia James
  Philadelphia, PA 19101-7346                    28 Liberty Street
                                                 New York, NY 10005




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                                    Notice of Appearance


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      EXHIBIT A
   PROPOSED ORDER
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                           §            CHAPTER 11
                                                  §
 NATIONAL RIFLE ASSOCIATION                       §            Case No. 21-30085-hdh-11
 OF AMERICA and SEA GIRT LLC,                     §
                                                  §
        DEBTORS.                                  §            JOINTLY ADMINISTERED


      ORDER ON MOTION TO DISMISS CHAPTER 11 BANKRUPTCY PETITION

        COMES NOW Ackerman McQueen, Inc.’s Motion to Dismiss Chapter 11 Bankruptcy

 Petition (the “Motion”). Having reviewed the Motion and having heard the statements and

 evidence offered in support of the relief requested therein at a hearing before this Court, the Court

 determines that the legal and factual bases set forth in the Motion and at the hearing establish just

 cause for the relief granted herein. Accordingly, it is hereby ORDERED that:


        1.      The Motion is GRANTED.

        2.      The above-captioned case is dismissed without prejudice.


                                         ###END OF ORDER###
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 Order prepared by:

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